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UN|TED STATES DlSTRlCT COURT
MIDDLE DlSTRlCT OF PENNSYLVAN|A

lN THE MATTER OF APPL|CAT|ON FOR .
ADM|SS|ON TO PRACT|CE |N TH|S COURT :

PET|T|ON

l Deepak Gupta , hereby petition the United States District
Court for the Nliddle District of Pennsylvania to admit me to practice before that Court. ln
support of my petition, l state as follows:

My oche address is: Gupta W€SS|OF PLLC
1900 L Street NW, Suite 312

 

Washington DC 20036

 

Office Te|ephone: 202-888-1741

l was admitted to practice before the Courts listed below on the date shown after
the name of each Court, and l am currently a member in good standing of all those Courts.

 

Please see attached addendum

 

 

My attorney identification number is: DC 495451

 

FOR COURT USE ONLY

GENERAL ADM|SS|ON:

GRANTED THE COURT: __ Date:
GRANTED BY THE COU 6 C/ Date: [ ll 312 A/

 

 

 

 

 

 

 

 

